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BARBARA C. LAGRANGE
2179 Cantley Court

Forest Hill, MD 21050
(citizen of Harford Co., MD)

Plaintiff

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CARLOO EVERTON WATSON
7 Sheffield Court

New Brunswick, NJ 08902
(citizen of New Jersey)

and

WAKEFERN FOOD CORP.

5000 Riverside Drive

Keasbey, NJ 08832

(incorporated in Florida)
Serve On:
CT Corporation System
1200 South Pine Island Road
Plantation, FL 33324

and

W.K.F. TRUCKING, LLC

385 Milford Street

Brooklyn, NY 11209

(LLC established in New York)
Serve On:
Carloo Everton Watson
385 Milford Street, Apt. 2
Brooklyn, NY 11209

Defendants

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* IN THE
* UNITED STATES DISTRICT COURT
* FOR THE DISTRICT OF MARYLAND

= (Northern Division)

* CASE NO.:

* Fr * * * * * *

COMPLAINT

Comes Now the Plaintiff, Barbara C. LaGrange, through her undersigned counsel, Irwin E.

Weiss, and sues the Defendants Carloo Everton Watson, Wakefern Food Corp. and W.K.F.

Trucking, LLC, saying:

 
 

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COUNT ONE

The Plaintiff, Barbara C. LaGrange, is a resident and citizen of the state of Maryland.
The Defendant Carloo Everton Watson is a resident and citizen of the state of New
Jersey,

The Defendant Wakefern Food Corp., is a corporation incorporated in the state of
Florida.

The Defendant, W.K.F. Trucking, LLC., is a limited liability company registered in
the State of New York,

The amount of this claim exceeds Seventy-Five Thousand Dollars ($75,000),
exclusive of interest and costs.

The incident giving rise to this lawsuit was a multi-vehicle motor vehicle collision
which occurred in Harford County, Maryland.

Jurisdiction in this Court is based on diversity of citizenship (28 U.S.C. §1332),
On March 11, 2019, the Plaintiff, Barbara C. LaGrange, was carefully and prudently
operating her motor vehicle on Route 24 in Harford County, Maryland, when the
Defendant, Carloo Everton Watson was operating a tractor trailer truck in the same
direction on the same roadway,

The Defendant Watson was traveling at an unreasonably high rate of speed,
approaching the intersection of Ring Factory Road, weaving in and out of travel
lanes, distracted by the use of his cellophane, at about 7:00 A.M., at a time when
numerous other vehicles were operating on the same roadway.

At this time, at least twelve (12) vehicles were stopped for a traffic signal at the
intersection of Route 24 and Ring Factory Road, including the Plaintiff herein.

As Defendant Watson approached the traffic signal set forth above, he negligently
lost control of the tractor trailer truck he was operating, failed to apply the vehicle’s
brakes in a timely fashion, failed to keep a proper lookout, failed to observe other

vehicles upon the roadway, and was otherwise negligent, thereby causing a massive

 
 

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and violent collision involving numerous vehicles, including that of the Plaintiff
herein..

The aforementioned collision was entirely caused by the negligence of the Defendant
Watson, and resulted in a significant fire, a large debris field, and a major
conflagration on the roadway.

At the time of the collision set forth above, the Defendant Watson was operating the
tractor trailer truck as the agent, servant and/or employee of the Defendants Wakefern
Food Corp. and W.K. F. Trucking, LLC, who would be equally liable to the Plaintiff
for her damages due to the agency relationship between the corporate defendants and
the Defendant Watson.

The Plaintiff herein sustained orthopedic injuries and, importantly, a psychological
injury of a permanent nature, having witnessed the horror of this collision.

The Plaintiff has incurred, and will in the future incur, economic damages,
including, but not limited to medical and other expenses, all in the care and treatment
of her injuries, and has been permanently injured, and has sustained compensable
non-economic damages as well, including, but not limited to fear and fright,
emotional and physical pain and suffering, and other damages.

The injuries and losses sustained by the Plaintiff were due solely to the negligence
of the Defendants, and each of them, the Plaintiff being in no way contributorily

negligent to the happening of the occurrence, nor assuming the risk thereof.

COUNT TWO
The Plaintiff adopts and incorporates the allegations of venue, jurisdiction, and all
facts set forth in paragraphs 1 through 16 as if the same were repeated herein.
The Plaintiff further alleges that the corporate defendants owed a duty to the
motoring public, including the Plaintiff herein, to reasonably hire, train and supervise
its drivers, including the Defendant Watson, and not to retain as an agent or

employee, a driver who had a history of negligent operation of a deadly object such

 
 

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as the tractor trailer involved herein.

Defendants Wakefern Food Corp. and W.K. F. Trucking LLC, breached this duty of
care by employing and retaining Defendant Watson with knowledge that Defendant
Watson had numerous driving violations prior to the incident complaint of herein, in
New Jersey, Maryland and Virginia, including the use of a cellophane while driving,
failing to observe a traffic control device, following too closely, failing to obey lane
directions for vehicles over five tons, operating a moving vehicle with a flat tire and
speeding,

Notwithstanding their knowledge of his poor driving habits, the corporate defendants
retained Defendant Watson as a driver, exposing the public to a driver who was
unable or unwilling to conform his driving conduct to that required by law, and,
through this negligence, were a proximate cause of the collision, which was

completely foreseeable, given the driving propensities of the Defendant Watson.

WHEREFORE, this suit is brought, and, as set forth above, the Plaintiff claims damages in

the amount of $300,000, exclusive of interest and costs.

Respectfully submitted,

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